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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA, SOUTHERN DIVISION

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SHAKLEE CORPORATION, and NIR Case No. SACV07-00847-DOC-RNB

DIAGNOSTICS INC. _
The Honorable Davld O. Carter
PlaintiffS/Counterdefendants,

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VS.
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MASIMO CORPORATION, ISMISSAL

Defendant/Counterclaimant.

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CARLSSRY& <RAuTH L.P.nez>esebj ORDER OF DISMISSAL

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1 Pursuant to the parties’ August 13, 2008 Stipulation for Dismissal, the
2 claims of Shaklee Corp. (“Shaklee”) in the above-captioned action are
3 dismissed With prejudice pursuant to Federal Rule of Civil Procedure 41.
4 The counterclaims of Masimo Corp. (“Masimo”), in so far as they relate to
5 Shaklee, are dismissed Without prejudice as being moot.
6 Pursuant to the terms of the release provision in the Shaklee/Masimo
7 Settlement Agreement, Shaklee is not liable for Masimo’s attorney’s fees
8 and costs and Masimo is not liable for Shaklee’s attorney’s fees and costs.
9 This Court retains jurisdiction over the parties to enforce the terms of

10 the Shaklee/Masimo Settlement Agreement.

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16 Dated: (ZMM gila , 2008 ` .

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18 §§Re?§\t]a(tle§)D(i:s?rit§{ Judge

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